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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


JAMES HAYDEN,                                     CASE NO. 1:17-cv-02635-CAB

                 Plaintiff,

v.

2K GAMES, INC. and TAKE-TWO
INTERACTIVE SOFTWARE, INC. ,

                 Defendants.


             DEFENDANTS 2K GAMES, INC. AND TAKE-TWO INTERACTIVE
               SOFTWARE, INC.’S MOTION FOR SUMMARY JUDGMENT

          Defendants Take-Two Interactive Software, Inc. and 2K Games, Inc. (collectively,

“Take-Two”) respectfully move this Court for an order pursuant to Federal Rule of Civil

Procedure 56 granting Take-Two summary judgment on Plaintiff James Hayden’s (“Plaintiff”)

claim of direct and indirect copyright infringement (Count I and Count II) because (1) Take-

Two’s use of the tattoos at issue is a fair use, (2) Take-Two was authorized to use the tattoos, (3)

Take-Two’s use of the tattoos is de minimis, and (4) Take-Two’s video game is not substantially

similar to two of the tattoos that are covered in the game. In addition, Take-Two moves for

summary judgment that Plaintiff is not entitled to statutory damages or attorney’s fees pursuant

to 17 U.S.C. § 412.

          The Court should grant summary judgment on each of those grounds because there is no

genuine issue of material fact on those issues, and Take-Two is entitled to judgment as a matter

of law.
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Dated: October 25, 2021                 /s/ Dale M. Cendali
                                        Dale M. Cendali (admitted pro hac vice)
                                        Joshua L. Simmons (admitted pro hac vice)
                                        Chris Ilardi (admitted pro hac vice)
                                        KIRKLAND & ELLIS LLP
                                        601 Lexington Avenue
                                        New York, New York 10022
                                        Telephone: (212) 446-4800
                                        dale.cendali@kirkland.com
                                        joshua.simmons@kirkland.com
                                        chris.ilardi@kirkland.com

                                           Miranda D. Means (admitted pro hac vice)
                                           KIRKLAND & ELLIS LLP
                                           200 Clarendon Street
                                           Boston, Massachusetts 02116
                                           Telephone: (617) 385-7500
                                           miranda.means@kirkland.com

                                           Matthew J. Cavanagh (OH 0079522)
                                           MCDONALD HOPKINS LLC
                                           600 Superior Avenue, East, Ste. 2100
                                           Cleveland, Ohio 44114
                                           Telephone: 216.348.5400
                                           Fax: 216.348.5474
                                           mcavanagh@mcdonaldhopkins.com

                                           Attorneys for Defendants 2K Games, Inc. and
                                           Take-Two Interactive Software, Inc.




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